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                            UNITED STATES DISTRICT COUIIT
                            EASTERN DISTRICT OF LOUISIANA

  In lle: Oil Spill by the Oil Rig
                                                  ,1.
                                                            MDL 2179
         "f)eepwater Horizon" in the Gulf
         of Mexico, on APril 20' 2010
                                                  {<
                                                            Section J

                                                  *         JUDGE BARBIER
  Applies: 12-968, Plaisance, el al" vercus
  BP Exploralian & Production,Inc., et al.
  .AND-                                           *         MAG. JUDGE CTiRRAI]I.T
  Case No. 2l-0()544,
  Claim ID: tr-MPC1298035
                                                        *
                                    ORDER and JUDbMENT

                                                                        Denial of Class iVlembershipl
   [Upholding Clairnant's Challenge to the Clairns Adrninistrator's

         pursuanl ro Seclion V,N of the Medical Settlentelrt Agrecment. LMPC12980:5 has

 challenged thc f)eeprn,ater Horizon Medical Benefits Clairns Adrninistrator's deternrinalion that

 the Claipnant failed to qualify as a member of the Medical Berrefits Settlcment Class. Following
                                                                                                        a


  review of Claimant's file, the Court hereby UPHOLDS the Claimant's challenge and finds that

  tlre Ciaimant qualifies as a member of the Medical Benefits Settlement Class as aZone
                                                                                            B Resident.


         New Orleans, Louisiana. this 1 7th day of May 2021
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                                                        CARL.I. B
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